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         EXHIBIT 2
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                                                   U.S. PAT. NO. 10,022,623
                              ACCUSED PRODUCT: SNACK BOX V2 MINI (STICKLESS EDITION)
                    JFCA’S LPR 4.2(a)(1) CHART RESPONSIVE TO HIT BOX’S INFRINGEMENT CLAIM CHART

      Claim Limitations                  Accused Product (see Hit Box LPR 4.1(b)(3) Claim Charts)              JFCA Response
1. A hand operated game                                                                             JFCA does not dispute that the
controller for controlling a game                                                                   V2 Mini is a hand operated game
console, said game controller                                                                       controller for controlling a game
comprising:                                                                                         console.




A. an all-push-button game                                                                          JFCA disputes that the V2 Mini
controller surface being flat and                                                                   button configuration extends
extending horizontally between                                                                      “inwardly to a middle boundary
left and right edges and                                                                            line.” When properly construed, the
vertically between top and                                                                          “middle boundary line” of the 623
bottom edges, said left and right                                                                   Patent is in the middle. The “Middle
                                                                       1
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edges extending inwardly to a                                                              Boundary Line” shown to the left is
middle boundary line,                                                                      in fact to the left of the middle.

                                                                                           JFCA further disputes that the V2
                                                                                           Mini has the claimed “surface
                                                                                           including a left hand position
                                                                                           extending inwardly from said left
                                                                                           edge to said middle boundary line
                                                                                           and a right hand position extending
                                                                                           inwardly from said right edge to said
                                                                                           middle boundary line.” This portion
                                                                                           of the limitation literally requires
                                                                                           that the left and right edges meet in
                                                                                           the middle, leaving no room for
                                                                                           buttons or a “surface.” And there is
                                                                                           no width.

                                                                                           JFCA further disputes that the edge
                                                                                           denominated as the “bottom edge” is
                                                                                           in fact an edge on the bottom of the
                                                                                           controller.

                                                                                           JFCA does not dispute the
                                                                                           remaining portion of this limitation.




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B. said game controller surface                                                              JFCA disputes that the “middle
including a left hand position                                                               boundary” limitation is met. See
extending inwardly from said                                                                 above.
left edge to said middle
boundary line and a right hand                                                               JFCA disputes that the evidence
position extending inwardly                                                                  presented shows that V2 Mini has
from said right edge to said                                                                 “said left hand position including
middle boundary line, said left                                                              four movement push buttons and
hand position including four                                                                 said right hand position including
movement push buttons and said                                                               eight function buttons.” The
right hand position including                                                                evidence presented to the left does
eight function buttons, each of                                                              not support such allegations. The
said buttons having a generally                                                              function of each V2 Mini button is
circular shape;                                                                              in fact determined by the specific
                                                                                             game that is loaded on the game
                                                                                             console to which the controller is
                                                                                             connected. For example, the
                                                                                             pressing of an alleged “movement
                                                                                             button” may not result in movement.
                                                                                             There is no evidence of a V2 Mini
                                                                                             being connected to a game console
                                                                                             where the game console performs
                                                                                             the “movements” alleged in the
                                                                                             figure to the left.

                                                                                             JFCA further disputes that the V2
                                                                                             Mini has the claimed “surface
                                                                                             including a left hand position
                                                                                             extending inwardly from said left
                                                                                             edge to said middle boundary line
                                                                                             and a right hand position extending
                                                                                             inwardly from said right edge to said
                                                                                             middle boundary line.” This portion
                                                                                             of the limitation literally requires
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                                                                                               that the left and right edges meet in
                                                                                               the middle, leaving no room for
                                                                                               buttons or a “surface.” There is no
                                                                                               width.

                                                                                               JFCA further disputes that the edge
                                                                                               denominated as the “bottom edge” is
                                                                                               in fact an edge on the bottom of the
                                                                                               controller.

                                                                                               JFCA does not dispute the
                                                                                               remaining portion of this limitation.




1) said four movement push                                                                     JFCA disputes that the V2 Mini has
buttons including a left                                                                       “said four movement push buttons
movement button disposed                                                                       including a left movement button
closest to said left edge, a down                                                              disposed closest to said left edge, a
movement button disposed                                                                       down movement button disposed
between said left movement                                                                     between said left movement button
button and said middle boundary                                                                and said middle boundary line and
line and being the same distance                                                               being the same distance to said top
to said top edge as said left                                                                  edge as said left movement button, a
movement button, a right                                                                       right movement button disposed
movement button disposed                                                                       between said down movement
between said down movement                                                                     button and said middle boundary
button and said middle boundary                                                                line and being closer to said bottom
line and being closer to said                                                                  edge than said left and down
bottom edge than said left and                                                                 movement buttons, and an up
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down movement buttons, and an                                                                   movement button at least partially
up movement button at least                                                                     disposed on said middle boundary
partially disposed on said                                                                      line and being closer to said bottom
middle boundary line and being                                                                  edge than said right movement
closer to said bottom edge than                                                                 button.”
said right movement button,
wherein said left, right, and                                                                   JFCA disputes that the “middle
down movement buttons form                                                                      boundary” limitation is met. See
an arc-shape layout and said up                                                                 above.
movement button forms an
elliptical- shape layout with said                                                              JFCA disputes that V2 Mini has the
arc-shape layout;                                                                               alleged “movement buttons” located
                                                                                                between the left edge and “Middle
                                                                                                Boundary” because the left and right
                                                                                                edges meet at the “Middle
                                                                                                Boundary” according to the claim
                                                                                                language.

                                                                                                JFCA also disputes that the evidence
                                                                                                presented shows that the V2 Mini
                                                                                                has four movement push buttons.
                                                                                                The evidence presented to the left
                                                                                                does not support such allegations.
                                                                                                The function of each V2 Mini button
                                                                                                is in fact determined by the specific
                                                                                                game that is loaded on the game
                                                                                                console to which the controller is
                                                                                                connected. For example, the
                                                                                                pressing of an alleged “movement
                                                                                                button” may not result in movement.
                                                                                                There is no evidence of a V2 Mini
                                                                                                being connected to a game console
                                                                                                where the game console performs

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                                                                   the “movements” alleged in the
                                                                   figure to the left.

                                                                   JFCA further disputes that the edge
                                                                   denominated as the “bottom edge” is
                                                                   in fact an edge on the bottom of the
                                                                   controller.

                                                                   JFCA does not dispute any
                                                                   remaining portions of this limitation.




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                    JFCA’S LPR 4.2(a)(1) CHART RESPONSIVE TO HIT BOX’S INFRINGEMENT CLAIM CHART

2) said eight function buttons                                                                 JFCA disputes that the V2 Mini has
including a top row of four                                                                    “said eight function buttons
function buttons and a bottom                                                                  including a top row of four function
row of four function buttons                                                                   buttons and a bottom row of four
wherein each of said rows of                                                                   function buttons wherein each of
function buttons includes a first                                                              said rows of function buttons
function button and a second                                                                   includes a first function button and a
function button spaced by a pair                                                               second function button spaced by a
of middle function buttons,                                                                    pair of middle function buttons,
wherein said middle function                                                                   wherein said middle function
buttons are disposed closer to                                                                 buttons are disposed closer to said
said top edge than said first and                                                              top edge than said first and second
second function buttons, and                                                                   function buttons.”
wherein said first row of
function buttons are disposed                                                                  JFCA disputes that the “middle
vertically and linearly adjacent                                                               boundary” limitation is met. See
to said second row of function                                                                 above.
buttons;
                                                                                               JFCA disputes that V2 Mini has the
                                                                                               alleged “function buttons” located
                                                                                               between the right edge and “Middle
                                                                                               Boundary” because the left and right
                                                                                               edges meet at the “Middle
                                                                                               Boundary” according to the claim
                                                                                               language.

                                                                                               JFCA also disputes that the evidence
                                                                                               presented shows that V2 Mini has
                                                                                               eight function buttons. The evidence
                                                                                               presented to the right does not
                                                                                               support such allegations. The
                                                                                               function of each button is in fact
                                                                                               determined by the specific game that
                                                                                               is loaded on the game console to
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                                                                   which the controller is attached.
                                                                   There is no evidence of a V2 Mini
                                                                   being connected to a game console
                                                                   where the game console performs
                                                                   “functions” with the pressing of
                                                                   each of the eight buttons shown to
                                                                   the left.

                                                                   JFCA further disputes that the edge
                                                                   denominated as the “bottom edge” is
                                                                   in fact an edge on the bottom of the
                                                                   controller.

                                                                   JFCA does not dispute any
                                                                   remaining portions of this limitation.




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                    JFCA’S LPR 4.2(a)(1) CHART RESPONSIVE TO HIT BOX’S INFRINGEMENT CLAIM CHART

3) said up movement button is                                                              For the above reasons, which are
positioned below said first                                                                incorporated herein by reference,
function buttons and said right                                                            JFCA disputes that the evidence
movement button, said first                                                                presented shows that the V2 Mini
function buttons and said right                                                            has the alleged movement and
movement        buttons     being                                                          function buttons, much less such
adjacent to said middle                                                                    buttons orienteds around a “middle
boundary line so that said up                                                              boundary line.”
movement button can be
activated with a user's left-hand                                                          JFCA further disputes that the edge
thumb or the user's right-hand                                                             denominated as the “bottom edge” is
thumb with the left hand                                                                   in fact an edge on the bottom of the
positioned directly over said                                                              controller.
movement buttons and the right
hand positioned directly over                                                              JFCA does not dispute any
said function buttons as                                                                   remaining portions of this limitation.
described in limitations B.1) and
B.2) above; and




C. a connection means between                                                              JFCA disputes that the evidence
said push buttons and said game                                                            presented shows that the V2 Mini
console, wherein control signals                                                           has the claimed “connection means.”
are sent from said plurality of                                                            Hit Box’s use of the word “means”
buttons to said game console via                                                           presumtively makes this limitation a
said    wireless    or     wired                                                           means-plus-function term limited to
connection means as said                                                                   the structure disclosed in the
                                                                                           specification of the 623 Patent. The
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plurality of buttons is pushed by                                                          evidence to the left fails to provide
the user.                                                                                  the required comparison between the
                                                                                           alleged connection means of the V2
                                                                                           Mini and the structure of the
                                                                                           function means disclosed in the 623
                                                                                           Patent.

                                                                                           JFCA further notes that the alleged
                                                                                           evidence is optional. It also fails to
                                                                                           account for the fact that the V2 Mini
                                                                                           does not send control signals in all
                                                                                           situations where buttons are pressed,
                                                                                           such as when certain buttons are
                                                                                           pressed at the same time.

                                                                                           JFCA does not dispute any
                                                                                           remaining portions of this limitation.




2. The hand operated controller                                                            JFCA refers to and incorprates by
as in claim 1 wherein said                                                                 reference its above responses
connection means is a wire                                                                 including but not limited to its
connection means.                                                                          response regarding the alleged
                                                                                           “connection means.”

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                                                                   JFCA does not dispute any
                                                                   remaining portions of this claim.




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3. The hand operated controller                                                            JFCA refers to and incorprates by
as in claim 1, wherein said                                                                reference its above responses
connection means is USB cable.                                                             including but not limited to its
                                                                                           response regarding the alleged
                                                                                           “connection means.”

                                                                                           JFCA does not dispute any
                                                                                           remaining portions of this claim.




5. The hand operated controller                                                            JFCA refers to and incorprates by
as in claim 1 further comprising                                                           reference its above responses
a game controller printed circuit                                                          including but not limited to its
board connected between said                                                               response regarding the alleged
plurality of push buttons and                                                              “connection means.”
said     wireless    or    wired
communication means.                                                                       JFCA does not dispute any
                                                                                           remaining portions of this claim.
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6. The hand operated controller                                                           JFCA refers to and incorprates by
as recited in claim 1 wherein                                                             reference its above responses.
said hand operated controller is
box shaped.                                                                               JFCA disputes that the evidence to
                                                                                          the left shows that V2 Mini has a
                                                                                          “box” shape. V2 Mini has rounded
                                                                                          edges while boxes do not.

                                                                                          To the extent the refrenced “box
                                                                                          shape[]” refers to the left and right
                                                                                          edges meeting at the “middle
                                                                                          boundary,” V2 Mini is not box
                                                                                          shaped for this reason as well.

                                                                                          JFCA does not dispute any
                                                                                          remaining portions of this claim.
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7. The hand operated controller                                                            JFCA refers to and incorprates by
as recited in claim 1 wherein                                                              reference its above responses.
said buttons are circular shaped.
                                                                                           JFCA does not dispute any
                                                                                           remaining portions of this claim.




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8. The hand operated controller                                                              JFCA refers to and incorprates by
as recited in claim 1 wherein                                                                reference its above responses.
said movement buttons are
spaced from said left edge at                                                                JFCA does not dispute any
least an expanse of a distance                                                               remaining portions of this claim.
between said left movement
button and said right movement
button to define a flat surface for
resting of a user's palm.




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9. The hand operated controller                                                          JFCA refers to and incorprates by
as recited in claim 7 wherein                                                            reference its above responses.
said up button is the largest
button.                                                                                  JFCA does not dispute any
                                                                                         remaining portions of this claim.




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10. A hand operated game                                                                   See above responses to claim 1,
controller for controlling a game                                                          which JFCA hereby incorporates by
console, said game controller                                                              reference.
comprising:
                                                                                           JFCA does not dispute any
                                                                                           remaining portions of this claim.




an     all-push-button   game                                                              See above responses to claim 1,
controller surface extending                                                               which JFCA hereby incorporates by
horizontally between left and                                                              reference.
right edges and vertically
between top and bottom edges,                                                              JFCA does not dispute any
said left and right edges                                                                  remaining portions of this claim.
extending inwardly to a middle
boundary line, said controller
surface consisting of:

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Four movement push buttons                                                                 See above responses to claim 1,
including a left movement                                                                  which JFCA hereby incorporates by
button disposed closest to said                                                            reference.
left edge, a down movement
button disposed between said                                                               JFCA does not dispute any
left movement button and said                                                              remaining portions of this claim.
middle boundary line and being
the same distance to said top
edge as said left movement
button, a right movement button
disposed between said down
button and said middle boundary
line and being closer to said
bottom edge than said left and
down movement buttons, and an
up movement button at least
partially disposed on said
middle boundary line and being
closer to said bottom edge than
said right movement button,
wherein said left, right, and
down movement buttons form
an arc-shape layout and said up
button forms and elliptical-
shape layout with said arc- shape
layout;




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eight function buttons including                                                          See above responses to claim 1,
a top row of four function                                                                which JFCA hereby incorporates by
buttons and a bottom row of four                                                          reference.
function buttons wherein each of
said rows of function buttons                                                             JFCA does not dispute any
includes a first function button                                                          remaining portions of this claim.
and a second function button
spaced by a pair of middle
function buttons, wherein said
middle function buttons are
disposed closer to said top edge
than said first and second
function buttons and said first
row of function buttons is
disposed between said second
row of function buttons from
said top edge.




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12. The hand operated controller                                                          See above responses to claims 1 and
as recited in claim 10 including                                                          10, which JFCA hereby incorporates
a PCB configured to operate                                                               by reference.
with the game console.
                                                                                          JFCA does not dispute any
                                                                                          remaining portions of this claim.




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14. The hand operated controller                                                            See above responses to claims 1 and
as recited in claim 10 wherein                                                              10, which JFCA hereby incorporates
said edges extend from said                                                                 by reference.
controller surface to a back
surface and said top edge defines                                                           JFCA disputes that “said edges
a top edge surface having at least                                                          extend from said controller surface
one button associated with                                                                  to a back surface and said top edge
controlling an in game menu.                                                                defines a top edge surface having at
                                                                                            least one button associated with
                                                                                            controlling an in game menu.” Hit
                                                                                            Box’s references to edges and
                                                                                            surfaces is nonsensical and in
                                                                                            conflict with earlier uses of the
                                                                                            terms.

                                                                                            JFCA does not dispute any
                                                                                            remaining portions of this claim.

15. The hand operated controller                                                            See above response, which JFCA
as recited in claim 14 wherein                                                              hereby incorporates by reference.
said connection means is a cable
extending from said top edge                                                                JFCA also disputes that the V2 Mini
surface.                                                                                    has a connection means on the top
                                                                                            edge surface.

                                                                                            JFCA does not dispute any
                                                                                            remaining portions of this claim.




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